Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 1 of 21

Certificate Under Act of Congress

PARISH OF ST. TAMMANY

1, O Prelbitta OR. < we , Clerk of the Twenty-Second Judicial District
Court, in and for the Parish of SE Tammany, State of Louisiana, and keeper of the
records, files and seal of said Court, do hereby certify, that the foregoing and
annexed is a true, full and complete copy of the original as fully as the same

appears from the records and files of said Court now remaining in my office, and
that said Court is a Court of record.

In Witness Whereof, I have hereunto set my hand and affixed the seal of said
Court at Covington, Louisiana, this | rhe day of. Mnlaer, »202\ .

Ktibrere DR. |\

Clerk of the Twenty-Second Judicial
District Court In and for the Parish

of St Tammany, State of Loutslana

STATE OF LOUISIANA } ‘5

STATE OF LOUISIANA } ss
PARISH OF ST. TAMMANY

EV Ura ud SdNutg, Judge of the Twenty-Second Judicial District Court,
in and for the Parish of St. Tammany, State of Louisiana, do hereby certify that
: Cs , whose name and genuine signature is subscribed
to the foregoing certificate of attestation, now is, and was, at the time of signing
and sealing the same, Clerk of said Court, and keeper of the records, files and seal
thereof duly elected and qualified to office; that full faith and credit are and of
right ought to be given to all of his official acts, as such, in all courts of record
elsewhere, and that said attestation is in due form of law and by the proper officer.
Given under my hand and the seal of said Court this oe

of 32 OL? mavoot ,AD.,20Q\_.

ri day
EZ b——

Judgé of the TWenty-Secerid Judicial

District Court fn and for the Parish
of St. Tammany, State of Loulslana

STATE OF LOUISIANA } $s
PARISH OF ST. TAMMANY

lO Pr ebstea DR. < ke , Clerk of the Twenty-Second Judicial District
Court, in and for the Parish of St Tammany, State of Louisiana, do hereby certify
that Picihard DUD, whose genuine signature appears on the foregoing
Certificate, was, at the time of signing the same, Judge of said Court, duly elected,
commissioned and qualified in accordance with the laws of the State of
Louisiana; that full faith and credit are and of right ought to be given to all his
official acts, as such, in all Courts of record and elsewhere.

 

In Witness Whereof, I have hereunto set my hand and affixed the seal of said
Court at Covington, Louisiana, this fate day of S32 CRwier , AD, 20 QYy .

LK drheme tk. Lo

Clerk of the Twenty-Second Judicial
District Court in and for the Parish
of St. Tammany, State of Loulslana

K-35
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 2 of 21

22nd JUDICIAL DISTRICT COURT FOR THE PARISH OF ST.TAMMANY

STATE OF LOUISIANA
DIVISION: “

No.: 9024-13496
GENEVA JAMES
VERSUS

ROSS DRESS FOR LESS, INC.

021
miiep, _AU6 08 t prints bars
andy Baki BERS Clerk

8
PETITION FOR DAMAGES

NOW INTO COURT, through the undersigned counsel comes petitioner, GENEVA

JAMES, a person of the full age of majority and a resident of the parish of St. Tammany, State of

Louisiana, respectfully represents that:

MADE DEFENDANT HEREIN:

A. ROSS DRESS FOR LESS, INC., (hereinafter referred to as “Defendant”) a foreign
corporation authorized to do and actually doing business in the Parish of St. Tammany,

State of Louisiana.

II.
Defendant is indebted unto your petitioner, GENEVA JAMES, for reasonable damages,

together with legal interest from the date of judicial demand until paid and for all costs of the

proceedings for the following reasons, to wit:
II.
On or about August 7, 2020 petitioner, GENEVA JAMES, an invited guest, and customer,

was shopping at the Ross Dress for Less, Inc. located at 61113 Airport Rd, Slidell, LA 70460,

Parish of St. Tammany, State of Louisiana.

    

IV.

As the petitioner was returning an item at the customer service desk, suddenly and without
warning she slipped in a puddle of clear liquid causing her to violently fall into the purs ack pntn
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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 3 of 21

Vv.

On information and belief, there were no warning signs in place to inform patrons such as

the petitioner that the ground contained a dangerous and/or hazardous condition.
VI.

The aforementioned dangerous condition presented an unreasonable risk of harm to

Petitioner, which harm was reasonably foreseeable by Defendant.
Vil.

Your petitioner respectfully avers that the Defendant is liable under the doctrine of res ipsa
loquitur by owning and/or maintaining a defective and unreasonably dangerous condition in their
care, custody, and control. All of which were the proximate cause of the petitioner’s injuries,

vi.

Your petitioner avers that the accident was caused solely negligence of the Defendant,
ROSS DRESS FOR LESS, INC., in accordance with the following non-exclusive fist of
particulars to-wit:

A. By creating a hazardous condition and failing to remedy and/or protect customers by
providing a safe passageway; .

B. By maintaining a defective condition on their premises (a defective walkway/thorough
way where customers traverse);

. Res Ipsa Loquitur
. Respondent Superior;

Failing to post warning signs;

3a mH Oo Of

Inadequate and unreasonable maintenance procedures;

Q

. Failure to keep the walkway safe after sufficient notice that said walkway could result
in an unreasonably dangerous condition;

H. Failing to provide proper walking surface;

L. Failure to have proper inspection procedures to visualize the unreasonably dangerous
conditions;

J. Any acts of negligence, which will be provided at the trial of this matter.
IX.
As a result of the incident described above, the petitioner, GENEVA JAMES, sustained
serious and permanent personal injuries to her entire body.

Page 2 of 4
Case 2:21-cv-01740-EEF-DMD Document 1;1 Filed 09/22/21 Page 4 of 21

X.

Petitioner, GENEVA JAMES is entitled to reasonable damages for the following:

A)
B)
C)
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Past, Present, and Future Medical Expenses;

Past, Present and Future Physical Pain and Suffering;

Past, Present, and Future Mental Anguish;

Past, Present and Future Emotional Distress;

Permanent Disability and Loss of Function;

Loss of Enjoyment of Life;

Past, Present, and Future Loss of Wages and Loss of Eaming Capacity;

All medical, hospital, doctors, injuries, pharmaceutical and prosthetic bills; and

Any other general or specific damages to which petitioner is entitled under the laws
of Louisiana.

XI.

Your petitioner avers amicable demand to no avail.

WHEREFORE, petitioner prays that the defendant be cited to appear herein and answer,

and after all due proceedings had, there be judgment in favor of your petitioner, GENEVA

JAMES, and against the defendant, ROSS DRESS FOR LESS, LLC for such sums as are

reasonable in the premises, together with all costs of these proceedings, and interest from date of

judicial demand.

Further, for all other general and equitable relief.

  
    
  

 

i RE BONIN (#31054)

OLAND CHRISTIAN BONIN (#34865)
JEAN-MARC BONIN (#36804)

4224 Canal St.

New Orleans, LA 70119

Office: (504) 586-0064

Fax: (504) 488-4114
jmvb@boninlawfirm.com

and

QUINN EARLY (#39002)
909 Poydras St. Suite 2950
New Orleans, LA 70112
Office: (504) 821-9900
Fax; (504) 821-8080
Quinn_Early@outlook.com

Page 3 of 4
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 5 of 21

PLEASE SERVE:

ROSS DRESS FOR LESS, INC,
Through their agent of service:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA 70816

Page 4 of 4
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 6 of 21

BONIN LAW

R. CHRISTIAN BONIN

ALEXANDRE £. BONIN .
Attorney 4224 CANAL STREET Attorney
aeb@boninlawfirm.com NEW ORLEANS * 70119 reb@boninlawfirm.com

T (604) 586-0064.

JUDGE PAUL A. BONIN (Ret:) F (504) 488-4114 J. MARC BONIN
Of Counsel " Attorney
pab@boninlawfirm.com jJmvb@boninlawfirm.co

2021-13496
August 5, 2021 [. i D
a
Via Facsimile ONLY
985-809-8777 AUG 09 2021
22"! Judicial District Court A
St. Tammany Parish Clerk of Court . MELI R. HENRY CLERK
701 N. Columbia Street . De ta “
Covington, LA 70433 ‘a Burris, Deputy Clerk
RE: Geneva James v. Ross Dress for Less, INC
Petition For Damages
Dear Clerk of Court:

Please find enclosed the Petition for Damages, that we are filing by facsimile today.
Kindly acknowledge your receipt and file motions into the record. Your usual courtesies as

always are appreciated.

With best regards, I remain

 

Assistant, Bonin Law Firm

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Melissa R, Henry

CLERK OF COURT
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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 8 of 21

Melissa R. Henry

 

 

 

 

 

CLERK OF COURT
22" Judicial District Court
Parish of St. Tammany:
«cece WENOWORFEREFILING
PLEASE SEE OUR WEBSITE WWW.SLTAMMANYCLERKLORG
DATE OF CONFIRMATION: August 5, 2021 ‘ GENEVA JAMES
TO: CRYSTAL AMAYVA FAX: 504-488-4114

 

FROM: ST TAMMANY PARISH CLERK OF COURT Phone: 985-809-8700
Fax: 985-809-8777

 

DATE FAX FILING RECEIVED: August 5, 2021

SUIT CAPTION: GENEVA JAMES VS ROSS DRESS FOR LESS INC
DOCUMENT RECEIVED: NEW SUIT PETITION FOR DAMAGES

 

 

SUIT NUMBER: _ 2021-13496 A TOTAL AMOUNT DUE: $415

RECEIPT OF TRANSMISSION
PLEASE ATTACH THIS FAXED RECEIPT OF TRANSMISSION TO THE FRONT
PAGE OF THE ORIGINAL PLEADINGS WHEN FILING TO ENSURE THAT THE ORIGINALS ARE FILED IN THE SAME
SUIT AS THE FAX FILING,

PLACE NEW SUIT NUMBER ON ALL PLEADINGS,

La. R.S, 13:850. Facsimile transmission; filings in civil actions; fees; equipment and supplies

A. Any document in a civil action may be filed with the clerk of court by facsimile transmission. All clerks of court
shall make available for their use equipment to accommodate facsimile filing in civil actions, Filing shall be
deemed complete at the time the facsimile transmission is received by the clerk of court. No later than on the first
business day after receiving a facsimile filing, the clerk of court shall transmit to the filing party via facsimile a
confirmation of receipt and include a statement of the fees for the facsimile filing and filing of the original
document. The facsimile filing fee and transmission fee are incurred upon receipt of the facsimile filing by the clerk
of court and payable as provided in Subsection B of this Section. The facsimile filing shall have the same force and
effect as filing the original document, if the filing party complies with Subsection B of this Scction,

B, Within seven days, exclusive of legal holidays, after the clerk of court receives the facsimile filing, all of the
following shall be delivered to the clerk of court:

(1) The original document identical to the facsimile filing in munber of pages and in content of each
page including any attachments, exhibits, and orders. A document not identical to the facsimile
filing or which includes pages not included in the facsimile filing shall not be considered tho
original document.

(2) The fees for the facsimile filing and filing of the original document stated on the confirmation of
receipt, if any. (This charge includes fees for (a) filing the faxed documents, (b) fax confirmation
fee of $15.00 and (c) fee for filing of the original pleadings.)

(3) A transmission fee of five dollars.

Cc. f the filing party fails to comply with any of the requirements of Subsection B of this Section, the fa im fle
filing shall have no force or effect. The various district courts may provide by court rule for other matters related
to filings by facsimile transmission.

PLEASE CALL THE CLERK’S OFFICE IF YOU HAVE ANY QUESTIONS.
ATTENTION FILING CLERK
THIS IS THE ORIGINAL OF A PREVIOUSLY FAXED PLEADING.

 

P.O. Box 1090 Covington LA 70434 (985) 809-8700
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Case FT HN Ot SR EEF-DMD Document 1-1 Filed oo/a2let Page of

 

ALEXANDRE E. BONIN BONIN LAW R. CHRISTIAN BONIN
Attorney 4224 CANAL STREET Attorney
seb@boninawfirm.com ot _REW ORLEANS * 70119 teb@boninlawfirm.com L
JUDGE PAUL'A. BONIN (Ret) a ‘apalla ¥ Maxc BONIN
pab@boninlawfirm.com jmvb@boninlawfinn.com
August 5, 2021
Via Facsimile ONLY .
20" Fudleas District Court ; & UNE to.
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Covington, LA 70433 Qs nev
RE: Geneva James v. Ross Dress for Less, INC
Petition For Damages
Dear Clerk of Court:

Please find enclosed the Petition for Damages, that we are filing by facsimile today.
Kindly acknowledge your receipt and file motions into the record. Your usual courtesies as
always are appreciated. ,

With best regards, [ remain

 

Assistant, Bonin Law Firm

Encl.

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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 10 of 21
Aug. 5.2021 1:34PM we No. 6173 PQ

22nd JUDICIAL DISTRICT COURT FOR THE PARISH OF ST.TAMMANY
STATE OF LOUISIANA

2021 13496

GENEVA JAMES

DIVISION: “,”
A

VERSUS
ROSS DRESS FOR LESS, INC.

FILED:
DEPUTY CLERK:

PETITION FOR DAMAGES
NOW INTO COURT, through the undersigned counsel comes petitioner, GENEVA
JAMES, a person of the full age of majority and a resident of the parish of St. Tammany, State of

’. Louisiana, respectfully represents that:

MADE DEFENDANT HEREIN:
A.. ROSS DRESS FOR LESS, INC., (hereinafter referred to as “Defendant”) a foreign
corporation authorized to do and actually doing business in the Parish of St. Tammany,
State of Louisiana.
i.

Defendant is indebted unto your petitioner, GENEVA JAMES, for reasonable damages,
together with-legal interest from the date of judicial demand until paid and: for all costs of the
proceedings for the following reasons, to wit:

OL.

On or about August 7, 2020 petitioner, GENEVA JAMES, an invited guest, and customer,
was shopping at the Ross Dress for Less, Inc. located at 61113 Airport Rd, Slidell, LA 70460,
Parish of St. Tammany, State of Louisiana,

IV.

As the petitioner was retuming an item at the customer service desk, suddenly and without

warning she slipped in a puddle of clear liquid causing her to violently fall into the purse rack and

then to the ground.

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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 11 of 21

Aug. 5. 2021

1:34PM No 6179 PL 9

Vv.

On information and belief, there were no warning signs in place to inform patrons such as

the petitioner that the ground contained a dangerous and/or hazardous condition.

VI.

The aforementioned dangerous condition presented an unreasonable risk of harm to

Petitioner, which harm was reasonably foreseeable by Defendant.

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Your petitioner respectfully avers that the Defendant is linble under the doctrine of res ipsa

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care, custody, and control. All of which were the proximate cause of the petitioner’s injuries.

VI.

Your petitioner avers that the accident was caused solely negligence of the Defendant,

ROSS DRESS FOR LESS, INC., in accordance with the following non-exclusive list of

particulars to-wit:

A.

B.

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. Failing to post warning signs;

By creating a hazardous condition and failing to remedy and/or protect customers by
providing a safe passageway;

By maintaining a defective condition on their premises (a defective walkwayAhorough
way where customers traverse);

. Res Ipsa Loquitur

. Respondent Superior;

. Inadequate and unreasonable maintenance procedures;

. Failure to keep the walkway safe after sufficient notice that said walkway could result
- in an unreasonably dangerous condition;

. Failing to provide proper walking surface;

Failure to have proper inspection procedures to visualize the unréagonably dangerous
coriditions; : a

Any acts of negligence, which will be provided at the trial of this matter.

Xx.

As a result of the incident described above, the petitioner, GENEVA JAMES, sustained

serious and permanent personal injuries to her entire body. ... F AX

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Case 2:21-cv-01740-EEF- DMD Document 1:1 Filed 09/22/21 Page 12 of 21
Aug: 5.2021 1:34PM No. 6173 P. 4

X.
Petitioner, GENEVA JAMES is entitled to reasonable damages for the following:
A) Past, Present, and Future Medical Expenses;
_B) Past, Present and Future Physical Pain and Suffering;
C) Past, Present, and Future Mental Anguish;
D) Past, Present and Future Emotional Distress;
E) Petmanent Disability and Loss of Function;
F) Loss of Enjoyment of Life;
G) Past, Present, and Future Loss of Wages and Loss of Earning Capacity;
BH) ~All medical, hospital, doctors, injuries, pharmaceutical and prosthetic bills; and

Q Any other general or specific damages to which petitioner is entitled under the laws
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Xi.

Your petitioner avers amicable demand to no avail.

WHEREFORE, petitioner prays that the defendant be cited to appear herein and answer,
and after all due proceedings had, there be judgment in favor of your petitioner, GENEVA
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teasonable in the premises, together with all costs of these proceedings, and ifirest from date of
judicial demand. "

Further, for all other general and equitable relief,

 
  
    

 

RUE BONIN (#31054)
CHRISTIAN BONIN (#34865)
JEAN-MARC BONIN (#36804)

4224 Canal St.

New Orleans, LA 70119

Office: (504) 586-0064

Fax: (504) 488-4114
jmvb@boninlawfirm.com

and

QUINN EARLY (#39002)

909 Poydras St. Suite 2950

New Orleans, LA 70112

Office: (504) 821-9900

Fax: (504) 821-8080

Quinn_Early@outlook.com FAX

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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 13 of 21
Aug. 5.2021 £:34?M , , No. 6173 PG ‘

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PLEASE SERVE:

ROSS DRESS-FOR LESS, INC.
Through their agent of service:
CT Corporation System

3867 Plaza Tower Dr.

Baton Rouge, LA. ‘70816

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Melissa R. Henry
CLERK OF COURT
22" Judicial District Court

Parish of St. Tammany:

"WE NOW OFFER E-FILING

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PLEASE SEE OUR. WEBSITE. WWW.STLAMMANYCLERIGORG

 

 

|= DATE.OF CONEIRMATION: Augusts.2001 _  '  genevasatmid 2 1 » 13496

TO: CRYSTAL AMAYA FAX: 504-488-4117, [| E D

FROM: ST TAMMANY PARISH CLERK OF COURT ___ Phone: 985-809-8700
Fax: 985-809-8777 AUG 09 2021

DATE FAX FILING RECEIVED: ___August 5, 2021 MELISSA R. HENR¥-cLERK +
Depu ,
SUIT CAPTION: GENEVA JAMES VS ROSS DRESS FOR LESS INC ' Sand:

Burris, Deputy Clerk
DOCUMENT RECEIVED: NEW SUIT PETITION FOR DAMAGES
SUIT. NUMBER: 2021-13496 A ‘TOTAL AMOUNT DUE: $415

 

 

RECEIPT OF TRANSMISSION
* PLEASE ATTACH THIS FAXED RECEIFT OF TRANSMISSION TO THE FRONT

PAGE OF THE ORIGINAL PLEADINGS WHEN FILING TO ENSURE THAT THE ORIGINALS ARE FILED IN THE SAME
SUIT AS THE FAX FILING.

E NEW SUIT INGS
La, RS, 13:850, Facsimile transmission; filings in civil actions; fees; equipment and supplies |

A. Any document in a civil action may be filed with the clerk of court by facsimile transmission, All clerks of court
shall make available for their use equipment to accommodate facsimile filing in civil actions. Filing shall be
deemed complete at the time the facsimile transmission is received by the clerk of court. No later than on the first
business day after receiving a facsimile filing, the clerk of court shall transmuit to the filing party via facsimile a
confirmation of receipt and include a statement of the fees for the facsimile filing and filing of the original
document. The facsimile filing fee and transmission fee are incurred upon receipt of the facsimile filing by the clerk
of court and payable as provided in Subseotion B of this Section. The faosimile filing shall have the same force and
effect as filing the original document, if the filing party complies with Subsection B of this Section,

B. Within seven days, exclusive of legal holidays, after the olerk of court receives the facsimile filing, all ofdire

following shall be delivered to the clerk of court: i -
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(1) The original document identical to the facsimile filing in number of'pages and in content SEbachy
page including any attachments, exhibits, and orders. A document not identical to the faésimile-O
filing or which includes pages not included in the faosimile filing shall not be consideredttig. U
original document, 2m

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receipt, if any. (This charge includes feos for (a) filing the faxed documents, (b) fax conficiation?
fee of $15.00 and (0) fee for filing of the original pleadings.)

(3) A transmission fee of five dollars.

 

Cc, Ifthe filing party fails to comply with any of the requirements of Subsection B of this Section, the facsimile
filing shall have no force or effect. The various district courts may provide by court rule for other matters related
to filings by fuosimile transmission.

PLEASE CALL THE CLERK’S OFFICE IF YOU HAVE ANY QUESTIONS.
ATTENTION FILING CLERK
TaIS IS THE ORIGINAL OF A PREVIOUSLY FAXED PLEADING,

 

P.O, Box {090 Covington LA. 70434 (985) 809-8700
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Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 17 of 21

CO Pr elbetta Ge, Jbentey

CLERK OF COURT
22°4 Judicial District Court
Parish of St. Tammany

 

 

August 16, 2021

East Baton Rouge Parish Sheriff's Office
Attn.: Civil Department

P.O. Box 3277

Baton Rouge, La. 70821

Re: Geneva James
VS. 202113496 Division A
Ross Dress For Less, INC.

Dear Sir:

Enclosed please find a citation along with certified copy of Petition for Damages to be served on
the following:

Name: Address:

Ross Dress For Less, INC. through their | 3867 Plaza Tower Dr.
agent of service: CT Corporation System _| Baton Rouge, LA. 70816

 

 

 

 

Please find a check(s) in the amount of $ payable to you for your services.
After service has been made, please mail your return to this office,

Sincerely,

_ Sithor Ml idon

Lashon Millon
Deputy Clerk

 

P.O. Box 1090+ Covington LA 70434 - (985) 809-8700
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 18 of 21

Geneva James 22™ Judicial District Court

VS 202113496 Division A Parish of St. Tammany

State of Louisiana
Ross Dress For Less, INC.

TO THE DEFENDANT: Ross Dress For Less, INC., through their agent of service: CT
Corporation System, 3867 Plaza Tower Dr. Baton Rouge, LA. 70816

You are hereby summoned to comply with the demand contained in the petition of which a
true and correct copy (exclusive of exhibits) accompanies this citation, or make an appearance,
either by filing an answer or other pleading, before the 22™ Judicial District Court, at the Justice
Center, 701 N. Columbia Street, Covington, LA, in and for the Parish of St. Tammany, State of
Louisiana, within FIFTEEN (15) days after the service hereof, under penalty of default

judgment against you.

By order of the Honorable Judges of said Court this 9th day of August, 2021

 

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hid Sar CK, o Mente, Clerk of Court

BY; AN Don,
~ “Tashon Millon, Depaty-Clerk
Issued: 08/16/2021

 

Counsel or Pro Se:
Alexandre Bonin
Attorney at Law

4224 Canal St.

New Orleans, LA. 70119

 

 

 

 

Received on 2021, and on , 2021 I served a true copy of

the within

on in person,
at domicile with

in Parish, a distance of miles from the Justice Center.

 

Deputy Sheriff

Parish of

 

101 ~ 15 day regular Citation
Rev 7/16
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 19 of 21

RETURN

Geneva James 224 Judicial District Court

VS 202113496 Division A Parish of St. Tammany
State of Louisiana

Ross Dress For Less, INC.

TO THE DEFENDANT: Ross Dress For Less, INC., through their agent of service: CT
Corporation System, 3867 Plaza Tower Dr. Baton Rouge, LA. 70816

You are hereby summoned to comply with the demand contained in the petition of which a
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judgment against you.

By order of the Honorable Judges of-said Court this 9th day of August, 2021

 

Lay WN a De ‘entey, Clerk af Court

IN

Lashon hon i lerk

 

Issued: 08/16/2021

Counsel or Pro Se:

 

 

 

 

 

 

Alexandre Bonin
Attorney at Law
4224 Canal St.
New Orleans, LA. 70119
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Parish of

 

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E.B.R. SHERiFE:

S OFbice SEP 07 2021

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Bane 1as/ Deputy Clerk

 
~ Case 2:21-cv-01740-EEF-DMBFRefAMRR cep yFiled 09/22/21 Page 20 of 21

P.O. Box 1090
Covington, LA 70434
Civil Suits (985) 809-8776

 

 

 

 

Payor Receipt No.
TAMMY MILLER/JANET DOTSON CVI-37110-2021
Transaction Date
09/17/2021
{_ Description Amount Paid |
Miscellaneous Payment

Civil Division: Photo Copy 9.00

Civil Division: Photo Copy Fee - $0.50/Page 9.00

Civil Division: Certification under Act of Congress 5.00

Civil Division: Certification under the Act of Congress - $5 §.00

Civil Division; Postage 2.16

Civil Division: Postage Fee - $Variable 2.16

3% Credit/Debit Card Fee 0.48

Draw Down Account 3% Credit/Debit Card Fee - $Variable 0.48

SUBTOTAL 16.64

PAYMENT TOTAL 16.64

Credit Card (Ref #4237) Tendered 16.64

Total Tendered 16.64

Change 0.00

PHONE REQUEST: 504-830-4440, 215 BEVERLY DR METAIRIE 70001 (MAILING: 3838 N CAUSEWAY BLVD STE 2900 METAIRIE 70002)
CASE: 2021-13496 RE: ENTIRE DOCKET (UNDER ACT OF CONGRESS)

09/17/2021 Cashier Audit
12:54 PM Station CV040 15175519

OFFICIAL RECEIPT
Case 2:21-cv-01740-EEF-DMD Document 1-1 Filed 09/22/21 Page 21 of 21

ST TAMMANY PARISH

coc
701 N COLUMBIA ST, 701 N
COLUMBIA ST
COVINGTON, LA 70433
9858098700
https://www.sttammanyclerk.org

Cashier: Demisha F.
Transaction 600003

Total $16.64 |

CREDIT CARD SALE $16.64 |
VISA 4237 i

17-Sep-2021 12:51:16P £
$16.64 | Method: KEYED :
VISA XXXXXXXXXXXX4237
MANUALLY ENTERED
Reference ID: 126000546917
Auth ID: 03498G
MID: eee 0996 |

CVCS

Mette a.

Payment ZBTMGME9RJNF4

Clover Privacy Policy |
https://clover.com/privacy |
